                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                       CLERK’S OFFICE
  CLERK OF COURT                                                          202-275-8000


                                   August 30, 2023

       2021-2348 - LKQ Corporation v. GM Global Technology Operations LLC

                     NOTICE OF NON-COMPLIANCE
The Amicus Brief submitted by iFixit, Securepairs, Katherine J. Strandburg,
Digital Right to Repair Coalition, Shubha Ghosh, Joshua D. Sarnoff, Mark
Bartholomew, Aaron Perzanowski, Ana Santos Rutschman, and United States
Public Interest Research Group, Inc. is not in compliance with the rules of this
court. Within five business days from the date of this notice, please submit a
corrected version of this document correcting the following:

   •   The case number on the document is incorrect or incomplete. Fed. R. App. P.
       32(a)(2)(A); Fed. R. App. P. 32(c)(2)(A).

                                         ***

 If applicable, the deadline for the next or responsive submission is computed from
   the original submission date, not the submission date of the corrected version.

   When filing the corrected document, please include the word "Corrected" in the
  document title or on the cover. See Fed. Cir. R. 25(c)(4) and Fed. Cir. R. 25(i) for
                      information concerning corrected filings.

 A party's failure to timely file a corrected document curing all defects identified on
 this notice may result in the original document being stricken from the docket. An
 appellant's failure to cure a defective filing may also result in the dismissal of the
                        appeal pursuant to Fed. R. App. P. 31(c).


                                                FOR THE COURT

                                                /s/ Jarrett B. Perlow
                                                Jarrett B. Perlow
                                                Clerk of Court
                                                By: M. Hull, Deputy Clerk
